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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA, )
) No. CR 12-0054 JSW
Plaintiff, )
§ fPROP€SEB] ORDER
v.
)
EDNA CALAUSTRO, )
)
Defendant. )
l

 

For good cause shown, IT IS HEREBY ORDERED that defendant Edna Calaustro shall be
permitted to travel to Southem Califomia from July 26, 2012 to July 29, 2012.
SO ORDERED.

, 0,];/

DATED:

 

 

United tates Magistrate Judge

STIPULATION AND [PROPOSED] ORDER
No. CR 12-0054 JSW

 

 

